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                IN THE UNITED STATES DISTRICT COURT FOR THE
                SOUTHERN DISTRICT OF OHIO, WESTERN DIVISION

NORCAL TEA PARTY PATRIOTS, et al.,     )
ON BEHALF OF THEMSELVES,               )
THEIR MEMBERS, and THE CLASS           )
THEY REPRESENT,                        )
                                       )                 Case No. 1:13-cv-00341
         Plaintiffs,                   )
                                       )
         v.                            )
                                       )                 Judge Michael R. Barrett
THE INTERNAL REVENUE SERVICE, et al., )
                                       )
         Defendants.                   )
_______________________________________)

                           PLAINTIFFS’ MOTION FOR
                 FINAL APPROVAL OF CLASS ACTION SETTLEMENT

       Plaintiffs NorCal Tea Party Patriots, South Dakota Citizens for Liberty, Inc., Americans

Against Oppressive Laws, Inc., Texas Patriots Tea Party, and San Angelo Tea Party

(collectively, “Plaintiffs”) hereby move the Court, pursuant to Federal Rule of Civil Procedure

23(e), for an Order:

       1.     Granting final approval of the proposed Settlement as set forth in the Settlement

              Agreement;

       2.     Entering final judgment on all claims asserted by Plaintiffs in accordance with the

              Settlement and which is binding on all class members;

       3.     Granting incentive awards to the Class Representatives in the amount of $10,000

              each;

       4.     Granting an award of attorneys’ fees in the amount of $1.75 million to partially

              reimburse Citizens for Self-Governance, the third-party funder, for the fees and

              expenses it has incurred in this matter;


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       5.      Approving payment of the litigation expenses submitted by Class Counsel; and

       6.      Expressly reserving a decision on the Motions to Unseal the transcripts by Former

               Individual Defendants Lois Lerner and Holly Paz, which should be decided

               separately from the settlement of the class claims.

       In support of their Motion, Plaintiffs incorporate by reference their Suggestions in

Support of Motion for Final Approval, filed contemporaneously with this Motion. Plaintiffs will

also submit a proposed order for the Court’s consideration.

       WHEREFORE, Plaintiffs respectfully request that the Court grant their Motion for Final

Approval of Class Action Settlement, including all requested relief with respect to the proposed

settlement of this class action, and also grant them any other such relief as the Court deems

appropriate.




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Dated: June 26, 2018                    Respectfully submitted,

                                        GRAVES GARRETT, LLC

                                        /s/ Edward D. Greim
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                                    Certificate of Service

       The undersigned attorney hereby certifies that, on June 26, 2018, the foregoing document
was served the Court’s CM/ECF electronic notification system to all counsel of record.

                                                      /s/ Edward D. Greim
                                                      Attorney for Plaintiffs




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